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AF Approval{] WM Chief Approval ene

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA . 8
ORLANDO DIVISION fs &
UNITED STATES OF AMERICA = E
v. CASE NO. 6: 2O-er-33~ ORL = Bq uA
MANUEL ANDRES LARENAS se
PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
and through the Fraud Section of the Criminal Division of the United States
Department of Justice and Maria Chapa Lopez, United States Attorney for
the Middle District of Florida (hereinafter referred to as the “United States” or
the “government”’), and the defendant, MANUEL ANDRES LARENAS
(hereinafter referred to as the “defendant”), and the attorney for the defendant,
Richard Merlino, Esq., mutually agree as follows:

A. Particularized Terms

1. Count Pleading To

The defendant shall enter a plea of guilty to Count One of the
Information. Count One charges the defendant with conspiracy to defraud the
United States and solicit and receive kickbacks, as well as offering and paying

kickbacks, in violation of 18 U.S.C. § 371.

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2. Maximum Penalties

Count One carries a statutory maximum term of imprisonment
of 5 years; a fine of not more than $250,000, or twice the gross gain caused by
the offense, or twice the gross loss caused by the offense, whichever is greater,
a term of supervised release of not more than three years; and a special
assessment of $100 per felony count.

With respect to certain offenses, the Court shall order the
defendant to make restitution to any victim of the offense, and with respect to
other offenses, the Court may order the defendant to make restitution to any
victim of the offense, or to the community, as set forth below.

3... Elements of the Offense

The defendant acknowledges understanding the nature and
elements of the offense with which defendant has been charged and to which
defendant is pleading guilty. The elements of Count One are:

First: Two or more persons in some way agreed to
try to accomplish a shared and unlawful plan;

Second: the Defendant knew the unlawful purpose of
the plan and willfully joined in it;

Third: during the conspiracy, one of the conspirators
knowingly engaged in at least one overt act
described in the information; and

Fourth: the overt act was knowingly committed at or
about the time alleged and with the purpose

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of carrying out or accomplishing some object
of the conspiracy.

4. No Further Charges

If the Court accepts this plea agreement, the Fraud Section of the
United States Department of Justice and the United States Attorney's Office
for the Middle District of Florida agrees not to charge defendant with
committing any other federal criminal offenses known to the Fraud Section of
the Department of Justice and the United States Attorney's Office at the time
of the execution of this agreement, related to the conduct giving rise to this
plea agreement.
5. Mandatory Restitution to Victim of Offense of Conviction
Pursuant to 18 U.S.C. § 3663A(a) and (b), defendant agrees to
make full restitution to Medicare.
6. Guidelines Sentence -- Joint Recommendation
Pursuant to the Fed. R. Crim. P. 11(c)(1)(B), the United States
and the defendant agree to jointly recommend to the Court that the defendant
be sentenced within the defendant's applicable guideline range as determined
by the Court pursuant to the United States Sentencing Guidelines, as adjusted
by any departure the United States has agreed to recommend in this plea
agreement and taking into consideration any arguments made under 18

U.S.C. § 3553(a). The parties understand that such a joint recommendation is

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not binding on the Court and that, if it is not accepted by this Court, neither
the United States nor the defendant will be allowed to withdraw from the plea
agreement, and the defendant will not be allowed to withdraw from the plea of
guilty.
7. Adjusted Offense Level - Estimate Only
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States,
based on the information now available to it, estimates that the defendant's

adjusted offense level is 19, as determined below:

Guideline | Description o Levels
2B4.1 Base Offense Level 8
2B1.1(b)(1) Specific Offense Characteristic | Level 14
3EL.1 Acceptance of Responsibility | Level -3
Total Adjusted Level 19
Offense Level

The defendant understands that this estimate is not binding on
the court or the United States, and if not accepted by the Court, the defendant

will not be allowed to withdraw from the plea.

8. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse

information is received suggesting such a recommendation to be unwarranted,

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the United States will recommend to the Court that the defendant receive a
two-level downward. adjustment for acceptance of responsibility, pursuant to
USSG §3E1.1(a). The defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the
defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E]1.1(b) and all terms of this plea
agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the Fraud Section of the
Department of Justice and the United States Attorney for the Middle District
of Florida, and the defendant agrees that the defendant cannot and will not
challenge that determination, whether by appeal, collateral attack, or

otherwise.

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9. Low End
At the time of sentencing, and in the event that no adverse

information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
sentence at the low end of the applicable guideline range, as calculated by the
Court. The defendant understands that this recommendation or request is not
binding on the Court, and if not accepted by the Court, the defendant will not
be allowed to withdraw from the plea.

10. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the
investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation

qualifies as "substantial assistance" in accordance with the policy of the Fraud

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Section of the Department of Justice and the United States Attorney for the
Middle District of Florida, warranting the filing of a motion at the time of
sentencing recommending (1) a downward departure from the applicable
guideline range pursuant to USSG §5K1 .1, or (2) the imposition of a sentence
below a statutory minimum, if any, pursuant to 18 U.S.C. § 3553(e), or (3)
both. If the cooperation is completed subsequent to sentencing, the
government agrees to consider whether such cooperation qualifies as
"substantial assistance" in accordance with the policy of the United States
Attorney for the Middle District of Florida, warranting the filing of a motion
for a reduction of sentence within one year of the imposition of sentence
pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant understands
that the determination as to whether "substantial assistance" has been
provided or what type of motion related thereto will be filed, if any, rests
solely with the Fraud Section of the Department of Justice and the United.
States Attorney for the Middle District of Florida, and the defendant agrees
that defendant cannot and will not challenge that determination, whether by

appeal, collateral attack, or otherwise.

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11. Use of Information - Section 1B1.8

Pursuant to USSG §1B1.8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).

12. Cooperation - Responsibilities of Parties _

a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and

unreservedly disclose and provide full, complete, truthful, and honest

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knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,

prosecution by indictment and consents that the United States may proceed by

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information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire

plea agreement null and void.

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13. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 18 U.S.C. § 982(a)(7), whether in the possession or
control of the United States, the defendant or defendant's nominees.

The defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil judicial or administrative
forfeiture action. The defendant also agrees to waive all constitutional,

' Statutory and procedural challenges (including direct appeal, habeas corpus, or
any other means) to any forfeiture carried out in accordance with this Plea
Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment.

If the United States seeks the forfeiture of specific assets pursuant
to Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture
will satisfy the notice requirement and will be final as to the defendant at the
time it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written

judgment at any time pursuant to Rule 36.

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The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant’s sentencing. To that end, the
defendant agrees to make a full and complete disclosure of all assets over -
which defendant exercises control directly or indirectly, including all assets
held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by
the defendant, and to consent to the release of the defendant’s tax returns for
the previous five years. The defendant further agrees to be interviewed by the
government, prior to and after sentencing, regarding such assets and their
connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United
States. The defendant agrees that Federal Rule of Criminal Procedure 11 and
USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the
defendant’s sentencing. In addition to providing full and complete

information about forfeitable assets, these steps include, but are not limited to,

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the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty

the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding
the abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including any agreed forfeiture amount, is collected

in full.

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14. Removal - Notification

The defendant has been advised and understands that pleading
guilty may have consequences with respect to the defendant’s immigration
status if the defendant is not a citizen of the United States. Under federal law,
the offense to which defendant is pleading guilty may be a removable offense.
Removal and other immigration consequences are the subject of a separate
proceeding, however, and the defendant understands that no one, including
the defendant’s attorney or the district court, can predict to a certainty the
effect of the defendant’s conviction on the defendant’s immigration status.
The defendant nevertheless affirms that the defendant wants to plead guilty
regardless of any immigration consequences that may result from the
defendant’s guilty plea, even if the consequence is the defendant’s automatic
removal from the United States following completion of the defendant’s
sentence.

B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense, pursuant to 18 U.S.C. § 3663A, for all offenses

described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant

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to make restitution to any victim of the offense, pursuant to 18 U.S.C. § 3663,
including restitution as to all counts charged, whether or not the defendant
enters a plea of guilty to such counts, and whether or not such counts are
dismissed pursuant to this agreement. The defendant further understands that
compliance with any restitution payment plan imposed by the Court in no
way precludes the United States from simultaneously pursuing other statutory
remedies for collecting restitution (28 U.S.C. § 3003(b)(2)), including, but not
limited to, garnishment and execution, pursuant to the Mandatory Victims
Restitution Act, in order to ensure that the defendant's restitution obligation is
satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure
that this obligation is satisfied, the defendant agrees to deliver a check or
money order to the Clerk of the Court in the amount of $100, payable to
"Clerk, U.S. District Court" within ten days of the change of plea hearing.
The defendant understands that this agreement imposes no limitation as to

fine.

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2. Supervised Release

The defendant understands that the offense to which the
defendant is pleading provides for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future.

4. Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count to which defendant pleads, to respond to
comments made by the defendant or defendant's counsel, and to correct any

misstatements or inaccuracies. The United States further reserves its right to

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make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.
5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
promises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
plea agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information

concerning the defendant, for the purpose of making any recommendations to

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the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to’
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly

reserves the right to support and defend any decision that the Court may make

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with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.
7. Defendant's Waiver of Right to Appeal the Sentence
The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the
Fraud Section of the United States Department of Justice and the Office of the

United States Attorney for the Middle District of Florida and cannot bind

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other federal, state, or local prosecuting authorities, although this office will
bring defendant's cooperation, if any, to the attention of other prosecuting
officers or others, if requested.

9, Filing of Agreement

This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or

to persist in that plea if it has already been made, and that defendant has the

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right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.

11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States would
be able to prove those specific facts and others beyond a reasonable doubt, and

that these facts are sufficient to support a plea of guilty.

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12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea.

13. Certification

The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant
and that defendant fully understands its terms.

february
DATED this day of January, 2020.

MARIA CHAPA LOPEZ
ates Attorney

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MANUEL LARENAS Alejandro J. Salicrup
Defendant Trial Attorney
Criminal Division, Fraud Section

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Richard Merlino Roger B. Handberg
Attorney for Defendant Assistant United States Attorney

Chief, Orlando Division

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 6:
MANUEL ANDRES LARENAS

PERSONALIZATION OF ELEMENTS

As to 18 U.S.C. § 371, Conspiracy to Defraud the United States and

Offer, Pay, and Receive Health Care Kickbacks:

(1) Did two or more people in some way agree to try to
accomplish a shared and unlawful plan?;

(2) Did you know the unlawful purpose of the plan and
willfully join in it?;

(3) During the conspiracy, did one of the conspirators
knowingly engage in at least one overt act described in the
information?; and

(4) Was the overt act was knowingly committed at or about the

time alleged and with the purpose of carrying out or
accomplishing some object of the conspiracy?

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 6:
MANUEL ANDRES LARENAS

FACTUAL BASIS

Between approximately November 2018 and May 2019, in the Middle
District of Florida, Manuel Andres Larenas (Larenas) and others knowingly
and willfully conspired and agreed to commit certain offenses against the
United States, namely, to defraud the United States by impairing, impeding,
obstructing, and defeating through deceitful and dishonest means the
administration of the Medicare program. Moreover, Larenas and others
conspired to solicit and receive kickbacks in violation of 42 U.S.C. § 1320a-
To(b)(1).

Larenas provided Ivan Andre Scott (Scott) with assistance in the
management of Scott Global, LLC, in the Middle District of Florida. Larenas
introduced Scott and co-conspirator #1. Co-conspirator #1 served as a broker
between medical laboratories and Scott. Scott Global would call Medicare
beneficiaries and convince them to enroll in cancer genetic testing. Once the

Medicare beneficiary agreed to the test, a medical authorization would be

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obtained via telemedicine. The Medicare beneficiary would then receive a
buccal swab, which the Medicare beneficiary would self-administer. The
genetic test would then be sent to a laboratory. The laboratory would perform
the cancer genetic test and bill Medicare for it. Scott Global would receive a
kickback, on a per patient basis, for every Medicare beneficiary harvested.

Larenas acted as a go-between for co-conspirator #1 and Scott. Asa go-
between, Larenas would relay messages from co-conspirator #1 to Scott.
These messages included that Scott was not producing enough business and
that Scott had to submit invoices that reflected that he was working on an
hourly basis. These invoices were fraudulent because Scott was being paid
kickbacks on a per-patient basis. Larenas was also copied on multiple
electronic communications regarding the operation of the business and Scott’s
participation in the kickback scheme.

As part of the scheme, a telemedicine doctor would authorize the
cancer genetic testing. Larenas would assist Scott in obtaining “credits” from
the telemedicine doctors in order to obtain cancer genetic testing
authorizations that were medically unnecessary.

As a result of Larenas’ and Scott’s participation in the illegal scheme,
Medicare paid approximately $881,493.13 for medically unnecessary cancer

genetic testing between November 2018 and May 2019.

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The preceding statement is a summary, made for the purpose of
providing the Court with a factual basis for my guilty plea to the charges
against me. It does not include all of the facts known to me concerning
criminal activity in which I and others engaged. I make this statement
knowingly and voluntarily and because I am in fact guilty of the crime

charged.

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